Case 18-14877-JDW      Doc 34   Filed 09/30/19 Entered 09/30/19 15:04:04     Desc Main
                                Document     Page 1 of 1



             IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF MISSISSIPPI


                                       RULE 3011

                     List of Unclaimed Funds, Claimants, and Amounts


   IN THE MATTER OF:                                      CHAPTER 13 CASE:

    JOHN W. HERRING                                         814877
     03 DOROTHY ST
    CHARLESTON06921



   CLAIMANT                          LAST KNOWN ADDRESS                AMOUNT

   JOHN W. HERRING                       403 DOROTHY ST                $2,601.92
                                         CHARLESTON, MS 38921




   DATED: $XJXVW2019


   Respectfully submitted,
   Locke D. Barkley, Trustee
   6360 I-55 North
   Suite 140
   Jackson, MS 39211
   (601) 355-6661

   CC: Michael W. Boyd
